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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION


 LLOYD PRICE                         *
                                     *
         Plaintiff,                  *                      CIVIL ACTION NO.: 3:17-cv-01069
                                     *
      versus                         *
                                     *
 WAL-MART LOUISIANA, LLC,            *                      JUDGE: DOUGHTY
 WAL-MART STORES INC., STACY MARTIN, *
 THE COCA-COLA COMPANY, AND          *
 COCA-COLA BOTTLING COMPANY          *                      MAGISTRATE JUDGE:
 UNITED, INC.                        *                      JOSEPH H.L. PEREZ-MONTES
                                     *
         Defendants.                 *
                                     *
 *****************************




                           MOTION FOR SUMMARY JUDGMENT



        NOW INTO COURT, through undersigned counsel, come Defendant, THE COCA-

 COLA COMPANY, who, pursuant to Rule 56 of the Federal Rules of Civil Procedure,

 respectfully represents that there are no genuine issues of material fact and, therefore, Defendant

 is entitled to summary judgment as a matter of law. For the reasons fully set forth in the attached

 memorandum in support, Plaintiff has failed to satisfy his burden of proving that The Coca-Cola

 Company was the owner or custodian of the “Coca-Cola” identified coolers in question on the

 date of the plaintiff’s accident, or that The Coca-Cola Company was in any way responsible for
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 maintaining the Coca-Cola identified coolers in question. Accordingly, summary judgment is

 warranted.

          WHEREFORE, The Coca-Cola Company prays that this Court grant its motion for

 summary judgment and dismiss Plaintiff’s claims against it, with prejudice and at Plaintiff’s

 costs.




                                      Respectfully submitted,

                                      IRWIN FRITCHIE URQUHART & MOORE LLC

                                      BY:     /s/ Matthew W. Bailey
                                              MATTHEW W. BAILEY (La. Bar No. 21459)
                                              400 Poydras Street, Suite 2700
                                              New Orleans, Louisiana 70130
                                              Telephone: (504) 310-2100
                                              Fax: (504) 310-2101
                                              mbailey@irwinllc.com

                                             Counsel for Defendant, The Coca-Cola Company



                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 9, 2018, I electronically filed the foregoing with the Court
 using the CM/ECF system and thereby delivered by electronic means to all registered
 participants as identified on the Notice of Electronic Filing.

                                                     /s/ Matthew W. Bailey
